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            IN THE UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF MARYLAND


DANIEL H. ROSS                                   ]
15722 Chasey Lane                                ]
Brandywine, Md 20613                             I
                                                           PJM 1 0 CV 3 Q 9 fl
                                                 I
              Plaintiff,                         1
                                                 1
FEDERAL BUREAU OF ACOHOL,                        I
TOBACCO, AND FIREARMS,                           1
935 Pennsylvania Avenue, N.W.,                   1                                          0
Washington, DC 20535;                            J
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FEDERAL BUREAU OF INVESTIGATION,                 1                 -'/"1
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935 Pennsylvania Avenue, N.W.,                   1                 I "    (,f)
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UNKNOWN OFFICIALS                                I
Of the Federal Bureau of ATF and FBI,            I
In their personal capacities, c/o                I
935 Pennsylvania Avenue, N. W.,                  ]
Washington, DC 20535,                            ]
                                                 1
              Defendants.                        J



 COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                AND JURY DEMAND

       Plaintiff Daniel H. Ross submits this Complaint for Declaratory and

Injunctive Relief and Jury Demand. As grounds therefore, Plaintiff alleges

as follows:
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                        ,JURISDICTION         AND VENUE




        This court is vested with jurisdiction   over these claims by operation of

28 U.S.C. * *1331 and 1343, because Plaintiffs         claims arise under federal

law and the U. S. Constitution.


                                          2


        This court is vested with authority to grant the requested    Declaratory

relief by operation of 28 U.S.c.     * * 220 I and 2202 and pursuant to Rule 57

of the Federal Rules of Civil Procedure.


                                          3


        This court is vested with authority to permit Jury Demand pursuant to

Rule 38 of the Federal Rules of Civil Procedure,       and files this action under

Bivens v. Six Unknown Names Agents, 403 U. S. 388 (1971) in this court.


                                          4


        Venue is proper in this district pursuant to 28 U.S.C. * 1391(b) and

(e).
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                                      PARTIES


                                            5


         Plaintiff Daniel H. Ross is a U. S. Citizen and a resident of the State

of Maryland.     He formerly was a resident of the State of North Carolina.


                                            6


         Defendant   Federal    Bureau of Alcohol    Tobacco     and Firearms      is an

agency of the U. S. Government.         The ATF's headquarters       is located at 935

Pennsylvania    Avenue, N. W., Washin!,'1:on, DC 20535.          Defendant    ATF can

be served with process         by serving   the agency    manager    and address    are:

Director,   Federal Bureau of Investigation       J. Edgar Hover F.B.I. Building,

935 Pennsylvania     Avenue, N. W., Washington,          DC 20535.


                                            7


         Defendant   FBI is an agency of the U. S. Government.               The FBI's

headquarters    is located at 935 Pennsylvania      Avenue,     N. W., Washington,

DC 20535.      Defendant FBI can be served with process by serving the agency

manager and address are: Director, Federal Bureau of Investigation             1. Edgar

Hover F.B.I. Building, 935 Pennsylvania         Avenue, N. W., Washington,          DC

20535.
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                         STATEMENT OF FACTS


                                      8


        After analyzing the history of the Second Amendment, among other

things, the Supreme Court held in District of Columbia v. Heller, 554 U. S.

_,128    S. Ct. 2783, 171 L. Ed. 2d 637 (2008): "that the Second Amendment

conferred an individual right to keep and bear arms for traditionally lawful

purposes, such as self-defense within the home." Heller, 128 S. Ct. at 2799.


                                      9


        Article I, Section 30 of the North Carolina Constitution provides, in

pertinent part: "A well regulated militia being necessary to the security of a

free State, the right of the people to keep and bear arms shall not be

infringed. "

                                      10

        The level of substantive due process and equal protection provided by

the North Carolina Constitution is at least as broad as that of the United

States Constitution if not broader. See Guice, 141 N.C. App. 177,541 S.E.

2d 474 (2000) and compare U. S. Const. 2 Amend.
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                                       II

      Plaintiff formerly was a convicted felon of the State of North

Carolina.   Among the states, North Carolina is a state that "automatically

restores prisoners' civil rights upon release from prison. N. C. G. S. 13-1.

Upon Plaintiffs release from the North Carolina prison on June 1, 1983, his

civil rights were automatically restored, and Plaintiff resumed citizenry and

residency of the State of North Carolina.

                                       12

             On October      29, 2003,      Plaintiff     was    employed    in Law

Enforcement to protect, and had access to a firearm in the performance of

his duties in the Commonwealth of Virginia; and adjudged and found to be

of good moral character by the Commonwealth of Virginia's Department of

Criminal Justice Services.

                                       13

             Prior to June 1, 1983, in 1965, Plaintiff was convicted in North

Carolina state court of a crime classified as a misdemeanor in that state that

did not exceed a term of two years imprisonment.              In 1969, Plaintiff was

convicted in North Carolina state court of a crime classified as a felony in

that state that did exceed a term of one year imprisonment that was nullified

on June I, 1983.     With regards to     * 922(g)       (I), Plaintiffs   1969 felony
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conviction was nullified on June I, 1983. With regards to both Sections

92 I (a) (20) and 922(g) (I), on June I, 1983, Plaintiffs civil rights were fully

restored by operation of the sovereign State of North Carolina by virtue of

Section 13-1 of the North Carolina General Statutes, and Article I, Section

30 of the Constitution of North Carolina with regards to both Plaintiffs

1969 felony conviction, and Plaintiffs 1965 misdemeanor conviction.

                                         14

          From June I, 1983 to the filing of this Complaint, Plaintiff has not

been convicted in any court of a felony or misdemeanor crime punishable by

imprisonment for a term that exceed one year under the laws of the United

States nor has Plaintiff acted in a manner that is dangerous to the public

safety.

                                         15

          On January 5, 2010, Plaintiff applied to purchase a hunting rife from a

licensed pawnbroker but was refused, notwithstanding the very fact that

Plaintiffs 27 years of law abiding responsible conduct from June I, 1983 to

the filing of this Complaint res ipsa loquitur.
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                                        16

              Defendants acted arbitrarily, capriciously, and contrary to law

contrary to their own procedures to grant Plaintiff permission to possess a

firearm, in violation of28 C.F.R. ~ 25.5, and 18 U.S.C. ~ 921(A)(20).

                                        17

       Defendants seek to use their nondiscretionary judgment to determine

when it is appropriate to comply with 28 C.F.R. ~ 25.5, and Title 18 United

States Code, Sections 921 (a) (20) and 922(g) (I) in granting permission to

possess a firearm, and even in instances where self defense would be

otherwise lawful under both state and federal Constitutions and laws thereof.

                                        18

       In particular, it is unreasonable to assert that the Plaintiff who was

employed in Law Enforcement to protect, and had access to a firearm in the

performance of his duties in the Commonwealth of Virginia; and adjudged

and found to be of good moral character by the Commonwealth of Virginia's

Department of Criminal Justice Services, is in reality so dangerous that any

possession at all of a firearm would pose a significant threat to public safety.

                                        19

      Defendants' evaluation as a basis for not complying with 28 C.F.R.

25.5, ~ 921 (a) (20) and 922(g) (I) in refusing to /:,'TantPlaintiff permission to
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possess a firearm was unlawful.        In Defendants' acknowledgment         letter

dated July 12, 20 I0, Defendants asserted that potentially prohibitive criteria

exists to authorize your eligibility to purchase or redeem a firearm due to

information retained by the ATF/FBI         that is misleading and incomplete,

and is made available to your detriment        (emphasis added).    A copy is

attached.

                                       20

      Contrary     to law and contrary      to Defendants'   own procedures,

Defendants have demonstrated proven ability to deny Plaintiffs eligibility to

purchase a firearm due to information retained by Defendants             that    IS


misleading, incomplete, and is made available to Plaintiffs detriment.

                                       21

      On April I, 2009, Plaintiff received notification from the United

States Personnel Security Branch of the U. S. Environmental Protection

Agency informing that his background investigation revealed that he was a

convicted      felon for the crime of first deh'fee murder       requiring      an

explanation.    Plaintiff had to report to the Personnel Security Branch Office

and submit proof that his felony conviction exceeding one year was nullified

on June I, 1983.
r-----------------------------------
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                                             22

             On March I I, 20 I0, Plaintiff received a telephone call from the

       United States Executive Secretary to the White House, in the course of his

       employment at work, advising him that the United States Secret Service had

       declined Plaintiffs   wife's request that he be permitted to tour the White

       House with Plaintiffs wife and her federal co-workers, notwithstanding the

       very fact that Plaintiff, at all times relevant and pertinent to the claims

       alleged herein, Plaintiff was and still is a contractor with the Federal

       Government.    On March 12, 2010 at approximately        11:03 a. m., Plaintiff

       received a telephone call from Secret Service William Gunter. Mr. Gunter

       advised Plaintiff that an FBI NICS background investigation revealed that

       Plaintiff was a convicted felon requiring proof to the contrary before he

       could be allowed to tour the Whitehouse with others federal Workers.        On

       March 12, 20 I0, Plaintiff was not a convicted felon of the crime first del,'Tee

       murder. Said felony conviction was nullified on June I, 1983.

                                             23

             Plaintiff has never demonstrated any involvement of antigovernment

       behavior such as carrying of firearms in sensitive places such as schools or

       in a government facility nor posed any threat to the government officials and

       law enforcement safety.
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                                                  24

         Defendants      have created, and continue to create roadblocks,                     to basic

necessities       making it extremely         easy for law enforcement,             employers       and

others     to     discriminate      against      Plaintiff      in    employment,           education,

professional       licensing and loans to rebuild his life, support his family,                     and

become        a productive         member      of his community         on equal terms.

                                                  25

         Defendants       have demonstrated            that retention     of Plaintiffs          arrest

record has been used improperly,                and there is a substantial             likelihood   the

retained records will continue to be used improperly against Plaintiff until an

injunction      issue prohibiting      Defendants        from claiming          Plaintiff    to be an

"irresponsible        and dangerous          felon"    in relation     to future        employment,

educational       applications,    and professional      licensing.

                                                  26

         Although Plaintiff has demonstrated                 good moral character and fitness

since June        I, 1983, Defendants'         "Continuing        Violations"      have impugned

and defamed         his good moral character and fitness even in instances                      where

self    defense      would    be    lawful     and     contrary      to law      and     contrary    to

Defendants'        own procedures,      Plaintiff is still being portrayed by Defendants
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to be a "potentially irresponsible and dangerous felon" rather than a law-

abiding, responsible tax-paying citizen with respect for law and order.

                                      27

      Title 18 U. S. C. Section 922 (g) (I) was passed as part of the Gun

Control Act of 1968, Pub. L. No. 90-618, 82 Stat. 1213.           This statute

criminalizes the shipping, transport or possession of a firearm connected

with interstate commerce by any person "who has been convicted in any

court of, a crime punishable by imprisonment for a term exceeding one

year." Eighteen years later, in 1986, Congress passed an amendment which

exempted from prosecution felons who, under the law of the jurisdiction of

their predicate   conviction,   had received   a pardon,    expungement,    or

restoration of civil rights.    18 U.S.C. ~ 921(A)(20) ("Firearms Owners'

Protection Act") ("FOP A").      This subsection provides: "Any conviction

which has been expunged, or set aside or for which a person has been

pardoned or has had civil rights restored, shall not be considered           a

conviction for purposes of this chapter, unless such pardon, expungement, or

restoration of civil rights expressly provides that the person may not ship,

transport, possess, or receive firearms. rd. (emphasis added).
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28

The law governmg eligibility to purchase a firearm defines "felony" to

exclude certain state crimes punishable by no more than two years'

imprisonment by virtue of *921(a) (20) (B). Any "misdemeanor"             offense

not punishable by no more than two years in prison meets the requirements

of *921(a) (20) (B).         Any other interpretation brings the regulation in

conflict with the statute.     It is clear that "regulations, in order to be valid

must be consistent with the statute under which they are promulgated," and

the agency's ". interpretation' of the statute cannot supersede the language

chosen by Congress." The power of an administrative officer or agency to

administer a federal statute and "to prescribe rules and regulations to that

end is not the power to make law ... but the power to adopt regulations to

carry into effect the will of Congress as expressed by the statute," and a

regulation which operates to create a rule out of harmony with the statute, is

a mere nullity.

                                         29

       Between April I, 2009 through March 12, 2010, the existing FBI's

NICS Data Base Record System represented that Plaintiff is a "potentially

irresponsible and dangerous felon." Defendants were complicit in classifying

and portraying Plaintiff as such, absent his awareness, and a due process
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hearing to defend and demonstrate               his good moral character.             Defendants'

portrait      was   patently      defamatory,         patently      false,      foreseeable,     and

preventable.

                                                 30

           In as much as Plaintiff bases his challenges                with specificity        on his

right to fundamental         protections     to bear arms for self-defense            and hunting

purposes on equal terms, Plaintiff seeks Declaratory                  and Injunctive Relief.

                                                 31

           [n as much as Plaintiff bases his challenges                with specificity        on his

right to Equal Employment           Opportunities,      Plaintiff requests a jury trial.

                                                 32

           Plaintiff has demonstrated        that he is not among the class of citizens

who pose a threat to public peace and safety.                    Accordingly,      Plaintiff brings

an equal protection         challenge      that ~ 922(g) (I) violates his right to equal

protection     for the reasons as follows: (I) Plaintiff is not a [cl reature of the

United States of America           for the purpose to be singled out for special and

specially     unfavorable      treatment     by Conl,'Tess;       (2) Self-defense       is a basic

right, recognized      by many legal systems from ancient times to the present,

this basic right is being abrogated,             and Plaintiff       does not fall outside         of

Second Amendment            protections     and the Supreme Court's             announcement        in
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District of Columbia v. Heller (2008); (3) by the affirmative act of pardon,

expungement or restoration, 18 U. S. C.    S 921(a) (20),   the state had declared

its renewed trust in that person and Plaintiffs civil rights to possess firearms

were automatically restored upon his release from prison on June I, 1983;

(4)    it is beyond the power of Congress to legislate control over States'

Legislation and 922(g) (I) frustrates enforcement of States' Legislation

(Restoration of Civil Rights) and amounts to a sil,'l1ificant incursion on a

traditional and important area of state concern, altering the constitutional

relationship between the Federal Government and the States; (5) Congress

cannot impose the type of substantive restraint 922(g) (I) imposes on state

legislation because a provision of the Bill of Rights that protects a right that

is fundamental from an American perspective applies equally to the Federal

Government and the States; (6) 922 (g) (I) is invalid, nevertheless,            as

"arbitrary and capricious" in violation of the Second,. Ninth, and Tenth

Amendments      to the United States Constitution and, the Privilege and

Immunities Clause, and Article        I, Section 30 of the North Carolina

Constitution,   for failure to set forth a rationale for its lIoll-distillctioll

between violent felons, non-violent felons and non-felons, including those

whose felony conviction resulted in loss of civil rights; (7) the exemption

for felons who have "had civil rights restored" should extend to non-felons
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who have "had civil rights restored" and that it is anomalous for the Federal

Government to treat non-felons who have "had civil rights restored" more

harshly than felons who have "had civil rights restored" as long as both

classes of persons share the operative status of full citizenship,           the

government    should   treat   them similarly    in exercising    "fundamental

protections to defend their homes, families, or themselves;" (8) the Firearm

regulatory scheme at issue here is not consonant with the concept of equal

protection embodied in the Due Process Clause, since Congress could not

rationally conclude that violent felons, non-violent felons, and even non-

felons is a sufficient basis to classify as a "potentially irresponsible and

dangerous person" so to keep firearms away from persons;         (9) ~ 922 (g)

(I) is unconstitutional as applied to Plaintiff because of its disqualifications

of any person "who has been convicted in any court of, a crime punishable

by imprisonment for a term exceeding one year," irrespective of whether the

individual is a violent felon, a non-violent felon or a non-felon such as

Plaintiff, who as has had civil rights restored, the statute, rather than

providing a fair alternative construction, is inconsistent with ~ 921 (a)(20)(b)

which provides "any misdemeanor that was not punishable by a term of

imprisonment of more than two years satisfies the requirements to exercise

fundamental protections to defend their homes, families, or themselves; (10)
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Defendants never had a valid legal basis for withholding permission from

Plaintiff to purchase a firearm, but only sought to delay and/or wrongfully

deny Plaintiff exercise of fundamental protections to defend his home,

family, or himself, and general laws and policies that prohibit arbitrary

discrimination would continue to prohibit discrimination on the basis of

felons' and non-felons' conduct as well; and    * 922(g) (1) does not protect
minorities lacking political clout and neglected by those holding political

power, the kind of prohibitive discrimination criteria which the Privileges

and Immunities Clause was designed to prevent.

                                   COUNT I

                                      33

      Violation of the 28 C.F.R.   * 25.5, and 18 U.S.C. * 921(A)(20)   and

the Second,    Ninth,   and Tenth     Amendments      of the   United    States

Constitution, , the Commerce, Privilege and Immunities Clause, and Article

I, Section 30 of the North Carolina Constitution, and laws thereof.       Self-

defense is a fundamental right.     Plaintiff has fundamental protections to

defend his home, family, or himself within his home on equal terms.
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                                          COUNT II

                                             34

Violation of Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C.

**   2000e to 2000e-17 (amended            in 1972, 1978 and by the Civil Rights Act

of   1991, Pub.    L. No.      102-106)        Plaintiff    enjoys   the right     to Equal

Employment    Opportunities.

                                 COUNT III
                          BREACH OF AGENCY DUTY

                                             35

       Pursuant    to 28 C.F.R.       S   25.5 Defendants        will be responsible      for

ensuring the accuracy and validity of the data contained within the NCIS and

will immediately      correct any record determined            to be invalid or incorrect

notwithstanding      automatically    purging of records        in the NCIS Index after

they are on file for a prescribed period of time; and quality control checks in

the form of periodic       internal   audits by FBI personnel          to verify that the

information   provided to the NCIS Index remains valid and correct.

                                              36


       Contrary      to law    and    contrary     to Defendants'       own      procedures,

Defendants    failed to exercise      the standards        of care ensuring   the accurate

adding, canceling,     or modifying of NCIS Index records supplied by Federal,
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State and local government        agencies, and quality control checks in the form

of periodic   internal audits by FBI personnel        to verify that the information

provided to the NelS       Index remains valid and correct.


                                           37


       Pursuant to law and Defendants'          own procedures,       Defendants    owed

Plaintiff a duty to protect       him from this type of harm that resulted           from

Defendants'     negligence,     and that duty was breached        in a manner        of a

continuing violation.

                                           38


       Defendants     were      in a position   to correct    false    and   defamatory

statements    concerning      Plaintiff made to law enforcement       officers, potential

employers,    and others, to Plaintiff s detriment.


                                           39


       Defendants       had a duty      not to present    false   statements       of fact

concerning Plaintiff to his detriment.


                                           40
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      Defendants had a duty not to mislead or advise law enforcement

officers, potential employers, and others, concerning Plaintiff.


                                      4\


      Defendants breached this duty to Plaintiff to his detriment which was

either nondiscretionary or unofficial conduct.


                                      42


      Defendants acted arbitrarily, capriciously, and contrary to law and

contrary to their own procedures.


                                       43


      As a direct and proximate result of Defendants: breach of 28 C.F.R.    *
25.5 duties, Plaintiff has suffered severe emotional distress, mental pain and

suffering and adverse physical consequences.


                                       44


       As a direct and proximate result of Defendants' breach of 28 C.F.R.   *
25.5 duties, Plaintiff has suffered physical pain and suffering.


                                       45
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      As a direct and proximate result of Defendants' breach of 28 C.F.R.       S
25.5 duties, Plaintiff has been subjected to public scorn, ridicule and

pecuniary losses.


                               COUNT IV
                           NEGLIGENCE PER SE

                                         46


      Defendants had a legal duty in the exercise of public responsibilities

to Plaintiff not to engage in nondiscretionary and unofficial conduct with

law enforcement officers, potential employers, and others, to Plaintiffs

detriment.   Defendants acted contrary to law and contrary to their own

procedures   in refusing    to   grant    Plaintiffs   permission   to   exercise

fundamental protections to defend his home, family, or himself, on equal

terms, as available to others, and to enjoy Equal Employment Opportunities.


                                         47


      Defendants' breach of said duty constitutes negligence per se.


                                         48
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      As a direct and proximate        result of Defendants'       negligence    per se,

Plaintiff has suffered severe emotional           distress, mental pain and suffering,

and adverse physical consequences.


                                          49


       As a direct and proximate       result of Defendants'       negligence    per se,

Plaintiff has been subjected to public scorn, ridicule and pecuniary losses.


                                      COUNT V
                                    NEGLIGENCE

                                          50


       Defendants   owed a duty to Plaintiff to exercise ordinary           care under

the circumstances   within the course and scope of their employment.


                                          51


      Defendants    breached this duty of care.


                                          52


      As a direct and proximate       result of Defendants'       negligence,   Plaintiff

has suffered   severe   emotional     distress,     mental   pain and suffering,     and

adverse physical consequences.
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                                        53


      As a direct and proximate result of Defendants' negligence, Plaintiff

has been subjected to public scorn, ridicule and pecuniary losses.


                                   COUNT VI
                                       FRAUD

                                        54


      Defendants knowingly and intentionally made false representations of

material fact to law enforcement officers, potential employers, and others,

contrary to law and contrary to their own procedures, and to Plaintiffs

detriment, by, among other things:


      (a)    Representing that Plaintiff is a "potentially irresponsible and

             dangerous felon;"


      (b)    Representing that Plaintiff would act in a manner dangerous to

             the public safety; and


      (c)    Representing that granting the relief sought would be contrary

             to the public interest.


      Defendants were complicit in classifying and portraying Plaintiff as

such, absent his awareness, and a due process hearing to defend and
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demonstrate         his good moral character.            Defendants'      portrait of Plaintiff was

patently defamatory,           patently false, foreseeable,        and preventable.


                                                    55


          As    a     direct    and    proximate         result   of     Defendants'      fraudulent

representations,        Plaintiff has suffered severe emotional distress, mental pain

and suffering, and adverse physical consequences.


                                                    56


          As    a     direct    and     proximate        result    of    Defendants'      fraudulent

representations,         Plaintiff    has been subjected          to public scorn, ridicule       and

pecuniary losses.


                                            COUNT VII
           INTENTIONAL               INFLICTION OF EMOTIONAL                     DISTRESS

                                                    57


          Defendants       intentionally    exercised unofficial conduct and abused their

position       of     power     by     representing       false    and     defamatory      statement

concerning          Plaintiff to law enforcement           officers,     potential   employers,   and

others.    Said statement amounted to at least negligence                     and is actionable   per
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se because it ascribes to the Plaintiff a characteristic incompatible with the

proper conduct of his 27 years of law abiding and respect for law and order.


                                      58


      Said statement diminishes the esteem in which a person is held, or

excites adverse feelings or opinions against him.


                                      59


      Defendants physically impacted Plaintiffs past, present, and future by

representing false and defamatory statements against Plaintiff on April 1,

2009, again on January 5, 2010, and again on March 12,2010.


                                      60


      As a direct and proximate result of Defendants' unofficial conduct on

April I, 2009, again on January 5, 2010, and again on March 12, 20 I0, and

contrary to 28 U.S.C. ~ 25.5, Plaintiff has suffered severe emotional distress,

mental pain and suffering, and adverse physical consequences.
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                                        61


       As a direct and proximate result of Defendants' unofficial conduct on

April I, 2009, January 5, 20 I0, and March 12, 20 I0, Plaintiff has been

subjected to public scorn, ridicule and pecuniary losses.


                             COUNT VIII
            NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

                                        62


       Defendants    were   negligent   as described    above   and below    in

exercising unofficial conduct and abused their position of power by making

false and defamatory statements concerning Plaintiff.


                                        63


       Defendants'   unofficial conduct was extreme and outrageous          and

directly caused Plaintiff to suffer severe psychological        and emotional

distress.


                                        64


       Plaintiff has suffered and continues to suffer damages as a result of

Defendants' unofficial conduct.
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                                      65


      As a direct and proximate result of Defendants' unofficial conduct,

Plaintiff has suffered severe emotional distress, mental pain and suffering,

and adverse physical consequences.


                                      66


      As a direct and proximate result of Defendants' unofficial, Plaintiff

has suffered physical pain and suffering.


                                      67


      As a direct and proximate result of Defendants' unofficial conduct,

Plaintiff has been subjected to public scorn, ridicule and pecuniary losses.


                             COUNT IX
                    NEGLIGENT FAILURE TO WARN

                                      68

      Defendants, by an through their agents, servants and employees, kept

Plaintiff under the shadow of his nullified conviction, and continued to

stigmatize and classify him as an "irresponsible and dangerous felon" and by

representing publicly the Defendants'       classification to law enforcement

officers, potential employers and others to Plaintiffs detriment.
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                                     69

       Defendants knew, or should have known, that fundamental requisite

of due process of law is the opportunity to be heard. This right to be heard

has little reality or worth unless one is informed that the matter is pending

and can choose for himself whether to appear or default, acquiesce or

contest.

                                     70

       Defendants knew or should have known that their action diminishes

the safeguard of notice, affording an opportunity to be heard, before one is

categorized as a "potentially irresponsible and dangerous felon."

                                     71

       Defendants knew, or should have known, that in the exercise of their

unofficial conduct, such defamatory statement was outrageous in character

and so extreme in degree to go beyond all possible bounds of decency

because any law enforcement officer, government official and others acting

on such statement or classification could have caused the unlawful taking of

Plaintiffs life based on the Defendants' defamation.

                                     72

       Defendants knew, or should have known, the need for some form of

pretermination hearing, recognized according to settled law, is evident from
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a balancing       of the competing     interests   at stake.   These are the private

interests in retaining employment,        and the severity of depriving a person of

the means        of livelihood   by making         false and defamatory        statements

concerning       Plaintiff to law enforcement      officers, potential employers,       and

others,      and by continuing       to stigmatize     and classify    Plaintiff      as an

"irresponsible     and dangerous felon."

                                      COUNT X
                     NEGLIGENT       FAILURE TO INTERVENE

                                            73


          Defendants with supervisory      power over the offending employees,           by

and through their agents, servants, and employees,             intentionally    exercised

unofficial     conduct    and abused their position of power by allowing               their

offending     employees     to make false and defamatory       statements      concerning

Plaintiff, and by categorizing        Plaintiff as a "potentially     irresponsible     and

dangerous felon."
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                                      74


      Defendants with supervIsory power over the offending employees,

knew, or should have known, that Plaintiff has not been a convicted felon

since May 1983, and the current year is 20 IO.


                                       75


      As a direct and proximate result of Respondeat superior's negligently

failure to intervene to prevent said unofficial conduct, Plaintiff has suffered

severe emotional distress, mental pain and suffering, and adverse physical

consequences.


                                       76


      As a direct and proximate result Respondeat superior's negligence,

Plaintiff has suffered physical pain and suffering.


                                       77


      As a direct and proximate result of Respondeat superior's negligence,

Plaintiff has been subjected to public scorn, ridicule and pecuniary losses.


                             COUNT XI
                   NEGLIGENT FAILURE TO PROTECT
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                                        78

      Defendants Respondeat superior allowed their agents, servants, and

employees to assume an unfettered position of trust and authority as false

and defamatory      statements     concerning      Plaintiff     were   made    to law

enforcement officers, potential employers, and others to his detriment.

                                        79

      Plaintiff felony conviction was nullified more than 27 years ago.

                                        80

      Defendants'     negligence     was     not    only       foreseeable,    but   also

preventable. Nullifying Plaintiff's felony conviction on June I, 1983 has the

effect of wiping out the conviction so that Plaintiff could no longer lawfully

be considered a convicted felon.

                                        81

      Defendants' negligence was the sole proximate cause of the damages

Plaintiff incurred on April I, 2009, again on January 5, 20 I0, and again on

March 12, 20 I0, including the present filing of this Complaint,                     and

Plaintiffs injuries could have been foreseen and prevented.
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                                        82


             As a direct and proximate result of Defendants'      negligence,

Plaintiff has suffered severe emotional distress, mental pain and suffering,

and adverse physical consequences.


                                        83

As a direct and proximate result of Defendants'      negligence, Plaintiff has

suffered physical pain and suffering.


                                        84


      As a direct and proximate result Defendants' negligence, Plaintiff has

been subjected to public scorn, ridicule and pecuniary losses.


                               COUNT XII
                         NEGLIGENT RETENTION

                                        85


                        *
Defendants' 28 C.F.R. 25.5 duties regarding validation and data integrity
of records in the system.

(a) The FBI will be responsible for maintaining data integrity during all
NICS operations that are managed and carried out by the FBI. This
responsibility includes:

(I) Ensuring the accurate adding, canceling, or modifying of NCIS Index
records supplied by Federal agencies;
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(2) Automatically rejecting any attempted entry of records into the NCIS
Index that contain detectable invalid data elements;

(3) Automatic purging of records in the NCIS Index after they are on file for
a prescribed period of time; and

(4) Quality control checks in the form of periodic internal audits by FBI
personnel to verify that the information provided to the NCIS Index remains
valid and correct.

(b) Each data source will be responsible for ensuring the accuracy and
validity of the data it provides to the NCIS Index and will immediately
correct any record determined to be invalid or incorrect.

                                      86


             Contrary to law and contrary to Defendants' own procedures,

Defendants physically and economically impacted Plaintiff by representing

to law enforcement    officers, potential employers, and others false and

defamatory statement concerning Plaintiff to his detriment.


                                      87

      Defendants knew such defamatory communication           would diminish

the esteem in which a person is held or to excite adverse feelings or opinions

against him was foreseeable.

                                      88

      Defendants knew, or should have known, that it is as much as

unlawful as unreasonable to assert that Plaintiff who was employed in Law

Enforcement to protect, and had access to a firearm in the performance of
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his duties in the Commonwealth of Virginia; and adjudged and found to be

of good moral character by the Commonwealth of Virginia's Department of

Criminal Justice Services, is in reality so dangerous that any possession at all

of a firearm would pose a significant threat to public safety.

                                       89


      Defendants with supervisory power over their agents, servants, and

employees, knew, or should have known, that their offending employees

were incompetent or otherwise unable to perform their job duties in an

ordinary, reasonable, and lawful manner.


                                       90


      Defendants with supervisory power over their agents, servants, and

employees were negligent in retaining their offending employees as public

servants, as said Defendants knew, or should have known, that their

offending employees had a propensity to diminish the esteem in which a

person is held, or to excite adverse feelings or opinions against him made to

law enforcement officers, potential employers, and others, to Plaintiffs

detriment.
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